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            EXHIBIT 1
                Case 5:11-cv-02509-LHK Document 297-2 Filed 01/22/13 Page 2 of 10
Deposition of 30(b)(6) Adobe, Donna Morris                   In Re: HIGH-TECH EMPLOYEE ANTITRUST LITIGATION

                  1                            UNITED STATES DISTRICT COURT

                  2                          NORTHERN DISTRICT OF CALIFORNIA

                  3                                 SAN JOSE DIVISION

                  4

                  5      IN RE:       HIGH-TECH EMPLOYEE             )

                  6      ANTITRUST LITIGATION                        )

                  7                                                  )    No. 11-CV-2509-LHK

                  8      THIS DOCUMENT RELATES TO:                   )

                  9      ALL ACTIONS.                                )

                10       ______________________________

                11

                12                    DEPOSITION OF 30(b)(6) WITNESS:               ADOBE

                13                                     (DONNA MORRIS)

                14                 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                15                                   August 21, 2012

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                17               Reported by:        Anne Torreano, CSR No. 10520

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 10:44:05         1      did she report to you at that point?

 10:44:06         2            A.       No, at that point in time it was Ellen

 10:44:09         3      Swarthout.

 10:44:09         4            Q.       It was Ellen.        Okay.     Thank you.

 10:44:11         5                     I believe you testified earlier that one

 10:44:14         6      function of human resources at Adobe is recruiting

 10:44:18         7      employees, employees or talent to fill positions at the

 10:44:22         8      company?

 10:44:22         9            A.       That's correct.

 10:44:22 10                   Q.       And another function of human resources at

 10:44:25 11             Adobe is to help retain employees at the company?

 10:44:28 12                   A.       We don't have like a function per se that's

 10:44:33 13             called "retention," but certainly an overall

 10:44:37 14             responsibility of human resources is to help retain

 10:44:39 15             talent.        That's right.

 10:44:40 16                   Q.       Let's talk about recruiting for a bit.

 10:44:43 17                            Why is recruiting talent important for Adobe?

 10:44:46 18                   A.       So our critical, most critical asset is

 10:44:50 19             people.        So we're really an IP-based company.

 10:44:53 20                   Q.       "IP" is intellectual property?

 10:44:56 21                   A.       Correct.     So that's -- you know, ultimately

 10:44:57 22             the only asset that we have as an organization is the

 10:45:04 23             bright minds of individuals and technologists or

 10:45:09 24             individuals who sell our products or market our

 10:45:11 25             products.

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 10:45:11         1            Q.       So it's important to Adobe to have --

 10:45:14         2            A.       It's critical.

 10:45:15         3            Q.       It's critical to Adobe to have the best talent

 10:45:18         4      that you can have?

 10:45:18         5            A.       Correct.

 10:45:20         6

 10:45:23         7

 10:45:25         8

 10:45:26         9

 10:45:30 10

 10:45:33 11

 10:45:37 12

 10:45:40 13

 10:45:45 14

 10:45:48 15

 10:45:52 16

 10:45:55 17

 10:45:58 18

 10:46:02 19

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 10:46:12 22

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 10:46:19         1

 10:46:29         2

 10:46:30         3

 10:46:32         4

 10:46:34         5

 10:46:38         6

 10:46:42         7

 10:46:46         8                                                                         .

 10:46:49         9

 10:46:52 10

 10:46:57 11

 10:47:01 12

 10:47:05 13

 10:47:09 14

 10:47:12 15

 10:47:15 16

 10:47:18 17

 10:47:22 18

 10:47:25 19

 10:47:29 20

 10:47:32 21

 10:47:35 22

 10:47:37 23

 10:47:39 24                   Q.       Let's talk about executive recruitment.

 10:47:41 25                            You said that at some point Adobe retained

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 11:04:27         1      internal movement.

 11:04:29         2            Q.       So there are various different kinds of

 11:04:32         3      candidates that are active, meaning they've reached out

 11:04:36         4      in some way to Adobe?

 11:04:36         5            A.       Correct.

 11:04:36         6            Q.       And then there are various types of candidates

 11:04:38         7      that are passive, meaning they haven't yet reached out

 11:04:41         8      to Adobe; is that right?

 11:04:42         9            A.       True.

 11:04:42 10                   Q.       What are the methods, from about 2005 to the

 11:04:48 11             present, to the extent you know, by which Adobe sought

 11:04:52 12             out passive candidates?

 11:04:53 13                   A.       What do you mean by "methods"?

 11:04:57 14                   Q.       What means did Adobe use to reach passive

 11:05:02 15             candidates, communicate with passive candidates?

 11:05:06 16                   A.       Well, certainly they would -- you know, they

 11:05:08 17             could -- I myself do not directly recruit candidates,

 11:05:12 18             so let me go with saying that.                 I interview a lot of

 11:05:15 19             people but I don't recruit.

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 11:05:31 24

 11:05:35 25

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 11:05:37         1

 11:05:42         2

 11:05:46         3

 11:05:47         4            Q.       You said you don't recruit candidates

 11:05:51         5      personally; is that right?

 11:05:51         6            A.       That's right.

 11:05:52         7            Q.       Did you ever --

 11:05:53         8            A.       I interview, but --

 11:05:55         9            Q.       At Adobe did you ever recruit candidates?

 11:05:59 10                   A.       Depends on your definition of "recruitment."

 11:06:03 11             So I clearly interviewed a lot of candidates and have

 11:06:07 12             always interviewed a lot of candidates.                    But I was

 11:06:09 13             never an individual who passively picked up the phone

 11:06:12 14             and started calling people and trying to encourage them

 11:06:15 15             to join the company, no.

 11:06:16 16                   Q.       You oversee people who do that, though?

 11:06:18 17                   A.       Correct.     Indirectly oversee them now.

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 11:06:50 25

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 11:06:55         1

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 11:07:12         9

 11:07:13 10

 11:07:13 11

 11:07:15 12

 11:07:19 13

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 11:07:36 17

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 11:08:06         1

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                  1                               REPORTER'S CERTIFICATE

                  2                   I, Anne Torreano, Certified Shorthand Reporter

                  3      licensed in the State of California, License No. 10520,

                  4      hereby certify that the deponent was by me first duly

                  5      sworn, and the foregoing testimony was reported by me

                  6      and was thereafter transcribed with computer-aided

                  7      transcription; that the foregoing is a full, complete,

                  8      and true record of said proceedings.

                  9                   I further certify that I am not of counsel or

                10       attorney for either or any of the parties in the

                11       foregoing proceeding and caption named or in any way

                12       interested in the outcome of the cause in said caption.

                13                    The dismantling, unsealing, or unbinding of

                14       the original transcript will render the reporter's

                15       certificates null and void.

                16                    In witness whereof, I have subscribed my name

                17       this 31st day of August, 2012.

                18

                19                           [X] Reading and Signing was requested.

                20                           [ ] Reading and Signing was waived.

                21                           [ ] Reading and Signing was not requested.

                22

                23
                                                       _______________________________
                24                                     ANNE M. TORREANO, CSR No. 10520

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